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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                 8:14CR225
                                              )
       vs.                                    )                  ORDER
                                              )
JAMES PETTRY,                                 )
                                              )
                     Defendant.               )


       This matter is before the court on the motion of defendant James Pettry (Pettry) to
review pretrial detention (Filing No. 46). The motion will be granted to the extent Pretrial
Services shall obtain a substance abuse evaluation of Pettry. Upon completion, a copy of
the evaluation will be provided to the court and counsel. Thereafter, any party may move to
review the order of detention.


       IT IS SO ORDERED.


       DATED this 1st day of July, 2014.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
